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                         UNITED STATES DISTRICT OF COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG           §                    MDL No. 2179
“DEEPWATER HORIZON” in the                §
GULF OF MEXICO,                           §                    SECTION: J
on APRIL 20, 2010                         §
                                          §                  JUDGE BARBIER
       Applies to: All Cases              §
                   2:10-cv-02771          §              MAG. JUDGE SHUSHAN
                                          §
                                          §
________________________________

          ORDER GRANTING HALLIBURTON ENERGY SERVICES INC.'S
      EX PARTE MOTION FOR LEAVE TO FILE REPLY TO BP'S OPPOSITION

       On this day the Court heard and considered Halliburton Energy Services, Inc.'s Ex Parte

Motion for Leave to File Reply to BP's Opposition. The Court after reviewing the Motion, finds

that good cause has been shown, and that Halliburton Energy Services, Inc.'s Motion should be

and is in all things GRANTED.

          IT IS HEREBY ORDERED that Halliburton Energy Services, Inc. is permitted to file its

Reply to BP's Opposition, attached to its Motion as Exhibit 2, which is deemed filed on

September 29, 2011, the date which Halliburton Energy Services, Inc. sought leave and filed its

Motion.

       SIGNED on the ____ day of _______________, 2011.


                                                   ____________________________
                                                   JUDGE PRESIDING




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